      Case 3:20-cr-00002-X Document 110 Filed 04/08/22           Page 1 of 2 PageID 435



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                  §
                Plaintiff,                  §
                                            §
 v.                                         §    3:20-CR-0002-X
                                            §
                                            §
 KEVIN KUYKENDALL (1)                       §
 SABRINA KUYKENDALL (2)                     §
 MARK SCHNEIDER (3)                         §
 MICHAEL SCHNEIDER (4)                      §
                                            §
                        Defendants.         §


             ORDER GRANTING DEFENDANTS’ UNOPPOSED JOINT
               FORTH MOTION TO CONTINUE TRIAL SETTING

      Before the Court is Defendants’ Joint Forth Motion to Continue Trial Setting (the

“Motion”) (Doc. No. 107), filed on March 31, 2022. The Court finds that the ends of justice

served by granting the continuance outweigh the best interests of the public and the

defendants in a speedy trial, and that failure to grant such a continuance might result in a

miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(A), (B)(i).

      The Court finds that Counsel needs additional time to review recently produced

discovery, conduct investigation, and interview witnesses in this case. The existing trial

date in this case of May 23, 2022 would deny counsel for the defendants the reasonable time

necessary for effective preparation of the defense. 18 U.S.C. § 3161(h)(7)(B). The likely result

would be an inability to continue the proceeding and a miscarriage of justice. 18 U.S.C. §

3161(h)(7)(B)(i). Therefore, the Court GRANTS the Motion.

      Accordingly, it is ORDERED that the trial of the case is reset from May 23, 2022 to

Tuesday, January 3, 2023 at 9:00 a.m. The period of delay shall be excluded in computing
      Case 3:20-cr-00002-X Document 110 Filed 04/08/22         Page 2 of 2 PageID 436



the time within which the trial must commence. Further, the Court finds that in the interest

of justice, this case shall be tried together with all co-defendants, pursuant to 18 U.S.C. §

3161(h)(6).

      Pretrial motions must be filed no later than September 16, 2022 and all responses,

including responses to any previously pending motions, no later than September 23, 2022.

      Requested voir dire questions, proposed jury instructions, witness lists (with

witnesses designated as “custodial,” “expert,” or “fact,” as well as “probable” or “possible”),

exhibit lists (with copies of exhibits furnished to the Court), and motions in limine must be

filed no later than December 16, 2022.

      Pretrial Conference is hereby scheduled for December 19, 2022 at 10:00 a.m. The

defendant need not be present for the Pretrial Conference.

      Signed this 8th day of April, 2022.




                                                      BRANTLEY STARR
                                                      UNITED STATES DISTRICT JUDGE
